Case 0:12-cv-60460-DMM Document 905 Entered on FLSD Docket 05/24/2023 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          Case No.: 12-cv-60460-MIDDLEBROOKS/HUNT

   UNITED STATES OF AMERICA,
           Plaintiff,
   v.
   THE STATE OF FLORIDA,
           Defendant.
                                                  /

                              JOINT POST-TRIAL STATUS REPORT

           Trial was held in this matter from May 8–19, 2023. At the end of trial, the Court stated
   that it was tentatively inclined to rule in favor of the United States on the merits, but would invite
   supplemental briefing focused on remedies. The Court ordered the parties to confer and file a
   joint status report by May 24, 2023, as to whether they reasonably anticipate reaching agreement
   on language that could be included in a permanent injunction or settlement.
           Counsel conferred by telephone on May 23, 2023. At this time, the parties do not
   reasonably anticipate reaching agreement on language that could be included in a permanent
   injunction or which would be a settlement. Thus, as directed by the Court, the United States will
   submit a brief on remedies on May 30, 2023, and the State will submit a response on June 5,
   2023.
Case 0:12-cv-60460-DMM Document 905 Entered on FLSD Docket 05/24/2023 Page 2 of 2




   Dated: May 24, 2023                Respectfully submitted,

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